Case 2:15-cv-00652-AB-E Document 207 Filed 03/13/19 Page 1 of 11 Page ID #:4683



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8                                UNITED STATES DISTRICT COURT
9                              CENTRAL DISTRICT OF CALIFORNIA
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      MARC WILLICK,                                Case No. 2:15-cv-00652-AB (Ex)
11
                          Plaintiff,               ORDER GRANTING DEFENDANTS’
12                                                 MOTIONS TO DISMISS FOR LACK
      v.                                           OF PERSONAL JURISDICTION
13                                                 AND FAILURE TO STATE A CLAIM
14    NAPOLI BERN RIPKA &
      ASSOCIATES, LLP, et al.,
15
                          Defendants.
16
17              Pending before the Court are Defendants Napoli Bern Ripka & Associates, et
18   al.’s (“Defendants”) Motions to Dismiss Plaintiff Marc Willick’s (“Plaintiff”) First
19   Amended Complaint. Dkt. Nos. 177, 179, 180, 181, 182, 186, 187, 188. Plaintiff
20   opposes the Motions. The Court heard oral argument on March 1, 2019 and took the
21   matter under submission. For the following reasons, the Court GRANTS Defendants’
22   Motions to Dismiss.
23         I.      BACKGROUND
24                 a. The Underlying Dispute
25              The background of this case has been set forth many times by the Court. In
26   brief, this case arises out of a contractual relationship between Plaintiff and the law
27   firm Napoli Bern Ripka & Associates, LLP (“NBRA”). Plaintiff and NBRA entered
28   into two contractual agreements through which Plaintiff referred numerous cases to
                                                  1.
Case 2:15-cv-00652-AB-E Document 207 Filed 03/13/19 Page 2 of 11 Page ID #:4684



1    NBRA. NBRA failed to pay Plaintiff for his referrals; accordingly, Plaintiff sued
2    NBRA, Napoli Bern Ripka Shkolnik & Associates, LLP, Napoli Bern Ripka Shkolnik,
3    LLP, Napoli Bern Ripka, LLP, Napoli Kaiser Bern, LLP, Marc Bern, and Paul Napoli
4    in Los Angeles Superior Court on December 12, 2014. See Complaint (Dkt. No. 1-1).
5    Defendants removed the case to this Court on January 28, 2015 and then moved to
6    compel arbitration. Dkt. Nos. 1, 27. The Court granted Defendants’ motion to
7    compel arbitration and stayed the case. Dkt. No. 39.
8          The Honorable Richard A. Stone (Ret.) (the “Arbitrator”) was appointed as the
9    arbitrator for the case. Decl. James Goldman ¶ 6 (Dkt. No. 134, Ex. 1). After a three-
10   year arbitration period, the Arbitrator presided over a prove-up hearing, at which
11   “Plaintiff presented his evidence and argument to prove up all of his claims against
12   [NBRA].” Id., Ex. 12 at p. 17. The Arbitrator entered default based on Plaintiff’s
13   evidence on July 3, 2018 and entered a final award against Defendant on August 3,
14   2018 amounting in $4,079,548.53 in damages on Plaintiff’s claims against NBRA.
15   Id., Ex. 13. The Arbitrator also issued sanctions against NBRA amounting in
16   $44,198.00. Id.
17         The arbitration award provided that the relief granted would be “the only relief
18   granted to [Plaintiff] against [NBRA].” Id. The arbitration award did not preclude
19   Plaintiff from seeking relief from any and all other Defendants. Id. The Court
20   confirmed the Arbitrator’s award over NBRA’s opposition (Dkt. No. 140) and issued
21   Judgment for Plaintiff on October 24, 2018. Dkt. No. 150.
22            b. Plaintiff’s Amended Complaint
23         During the course of the protracted arbitration, Plaintiff filed a First Amended
24   Complaint (“FAC”) to include additional defendants.1 Plaintiff’s FAC alleges that
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26    Plaintiff’s FAC was served upon: (1) NBRA; (2) Napoli Bern Ripka & Associates,
     LLP; Napoli Bern Ripka Shkolnik, LLP; Napoli Bern Ripka, LLP; Napoli Bern Ripka
27   Shkolnik & Associates, LLP; Napoli Kaiser Bern, LLP; Napoli Bern LLP; Napoli
     Kaiser Bern & Associates, LLP; Napoli Bern & Associates, LLP; Law Offices of
28   Napoli Bern, LLP; Law Offices of Napoli Bern Ripka & Associates LLP; Law Offices
                                              2.
Case 2:15-cv-00652-AB-E Document 207 Filed 03/13/19 Page 3 of 11 Page ID #:4685



1    Defendants Marc J. Bern and Paul J. Napoli conducted business throughout the United
2    States, including California. FAC ¶ 4. Specifically, Plaintiff asserts Defendant Bern
3    appeared as counsel at settlement conferences in Los Angeles County Superior Court
4    in lawsuits relevant to Plaintiff’s FAC. In addition, Plaintiff contends that Defendant
5    Napoli appeared as counsel in Los Angeles Superior Court, and signed multiple
6    contracts doing business in California, including employment contracts, local counsel
7    agreements, and lease agreements in Los Angeles. Id.
8          Plaintiff’s FAC further alleges that Defendants consistently represented to their
9    clients and the public that they were “California Injury Attorneys” and “California
10   Mesothelioma Attorneys” with “California law offices.” Id. Plaintiff asserts, through
11   information and belief, that treating NBRA, the Napoli Bern Entities, the Napoli
12   Entities, and the Bern Entities as separate from Defendants Bern or Napoli would
13   permit an abuse of company privilege and would promote injustice. Id. ¶ 9.
14         Plaintiff’s FAC alleges, among other things, (1) that NBRA and each of the
15   Napoli Bern Entities, Napoli Entities, and Bern Entities have always been
16   inadequately capitalized; (2) that Defendant Napoli and Defendant Bern have caused
17   the Napoli Bern Entities not to observe appropriate entity formalities; (3) that
18   Defendant Napoli has caused the Napoli Entities not to observe appropriate
19   formalities; (4) that Bern has caused the Bern Entities not to observe the appropriate
20   formalities; (5) that Napoli and Bern have used assets of each of the Napoli Bern
21   Entities for their personal use and caused assets of each of them to be transferred to
22   them or to entities under their control without adequate consideration, withdrew funds
23   from the bank accounts of them for their own and unrelated use of other entities or
24
     of Napoli Bern Ripka Shkolnik LLP; Law Offices of Napoli Bern Ripka Shkolnik
25   LLP; Law Offices of Napoli Bern Ripka Shkolnik & Associates, LLP; Pasternack
26   Tilker Napoli Bern LLP; Napoli & Bern, LLP; Napoli Bern Krentsel & Guzman, LLP;
     Worby, Groner, Edelman & Napoli, Bern, LLP (the “Napoli Bern Entities); (3) Napoli
27   Shkolnik PLLC; Paul Napoli Law PLLC; Napoli Kaiser & Associates, LLP; Paul
     Napoli PLLC (the “Napoli Entities”); (4) Marc J. Bern & Partners LLP; Bern Ripka,
28   LLP; and Marc J. Bern PLLC (the “Bern Entities”).
                                               3.
Case 2:15-cv-00652-AB-E Document 207 Filed 03/13/19 Page 4 of 11 Page ID #:4686



1    persons under their dominion and control and co-mingled business funds; (6) that
2    Defendant Napoli has used assets of the Napoli Entities for his personal use; and (7)
3    that Defendant Bern has used assets of the Bern Entities for his personal use. Id.
4    Through these allegations, Plaintiff contends that Defendants Napoli and Bern
5    “exercised such complete control and dominance of the business assets of the [Napoli
6    Entities and Bern Entities] and used and mingled the assets and monies of them such
7    that an individuality or separateness of the Napoli Entities and Napoli does not, and at
8    all times herein mentioned did not, exist.” Id.
9                 c. The Current Action
10             Plaintiff has been unable to recover his judgment against NBRA. Defendants
11   ask the Court to dismiss Plaintiff’s FAC against the numerous entities for lack of
12   personal jurisdiction and failure to state a claim upon which relief can be granted.2
13       II.      LEGAL STANDARD
14                a. Motion to Dismiss Under Rule 12(b)(2)
15             Rule 12(b)(2) allows a defendant to move to dismiss a complaint for lack of
16   personal jurisdiction. In opposing such a motion, the plaintiff bears the burden of
17   establishing that the court has jurisdiction over the moving defendant. Pebble Beach
18   Co. v. Caddy, 453 F.3d 1151, 1154 (9th Cir. 2006). The court may consider evidence
19   asserted by the parties, but the plaintiff need only make a prima facie showing of
20   personal jurisdiction to overcome a motion to dismiss under Rule 12(b)(2). Id.
21             Personal jurisdiction comes in two forms: general and specific. A court having
22   general jurisdiction over an out-of-state defendant can “hear any and all claims
23   against” that defendant, but only if the defendant’s affiliations with the forum state
24   “are so constant and pervasive as to render it essentially at home” there. Daimler AG
25   v. Bauman, 571 U.S. 117, 122 (2014).
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27    Further, Defendants argue that certain entities should not be included in Plaintiff’s
     Complaint. The proper parties for suit may be determined through jurisdictional
28   discovery.
                                                 4.
Case 2:15-cv-00652-AB-E Document 207 Filed 03/13/19 Page 5 of 11 Page ID #:4687



1          Specific jurisdiction may be established only if due process requirements are
2    met. Due process requires a defendant to have certain minimum contacts with the
3    forum state “such that the maintenance of the suit does not offend traditional notions
4    of fair play and substantial justice.” International Shoe Co. v. State of Washington,
5    326 U.S. 310, 318 (1945). For purposes of specific jurisdiction, the court assumes
6    that uncontroverted allegations in the plaintiff’s complaint are true. Dole Food Co.,
7    Inc. v. Watts, 303 F.3d 1104, 1108 (9th Cir. 2002).
8              b. Motion to Dismiss Under Rule 12(b)(6)
9          A Rule 12(b)(6) motion tests the legal sufficiency of the claims asserted in the
10   complaint. Dismissal is proper if the complaint lacks a “cognizable legal theory” or
11   “sufficient facts alleged under a cognizable legal theory.” Balistreri v. Pacifica Police
12   Dep’t, 901 F.2d 696, 699 (9th Cir. 1988). In determining dismissal under Rule
13   12(b)(6), the court must accept all factual allegations pleaded in the complaint as true,
14   and construe them and draw all reasonable inferences from them in favor of the
15   nonmoving party. Cahill v. Liberty Mutual Ins. Co., 80 F.3d 336, 337–38 (9th
16   Cir.1996); Mier v. Owens, 57 F.3d 747, 750 (9th Cir.1995). In pleading sufficient
17   facts, a plaintiff must proffer “enough facts to state a claim to relief that is plausible
18   on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).
19             c. Successor Liability
20         The general rule of successor liability is that a corporation that purchases all of
21   the assets of another corporation is not liable for the former corporation’s liabilities
22   unless, among other theories, the purchasing corporation is a mere continuation of the
23   selling corporation. See Ray v. Alad Corp., 19 Cal.3d 22, 136 Cal. Rptr. 574, 560
24   P.2d 3, 7 (1977). California courts require evidence of one or both of the following
25   factual elements for an entity to be a mere continuation: (1) no adequate consideration
26   was given for the predecessor corporation’s assets and made available for meeting the
27   claims of its unsecured creditors; (2) one or more persons were officers, directors, or
28   stockholders of both corporations.” Ray v. Alad, 19 Cal.3d at p 29. “[A] mere
                                                 5.
Case 2:15-cv-00652-AB-E Document 207 Filed 03/13/19 Page 6 of 11 Page ID #:4688



1    continuation contemplates a direct sale of assets from the predecessor corporation to
2    the successor corporation.” Katzir’s Floor and Home Design, Inc. v. M-MLS.com,
3    394 F.3d 1143 (9th Cir. 2004) (quoting Maloney v. Am. Pharm. Co., 207 Cal.App.3d
4    282, 255 Cal.Rptr. 1, 4 (1988)). “If a corporation organizes another corporation with
5    practically the same shareholders and directors, transfers all the assets but does not
6    pay all the first corporation's debts, and continues to carry on the same business, the
7    separate entities may be disregarded and the new corporation held liable for the
8    obligations of the old.” 9 Witkin, Corporations § 16 (10th ed.2005) (emphasis added);
9    see McClellan v. Northridge Park Townhome Owners Ass'n, Inc., 89 Cal.App.4th 746,
10   753, 107 Cal.Rptr.2d 702 (2001) (citing a previous edition of Witkin for the same
11   proposition).
12               d. Alter Ego Liability
13          “The alter ego doctrine arises when a plaintiff comes into court claiming that an
14   opposing party is using the corporate form unjustly and in derogation of the plaintiff’s
15   interests. In certain circumstances the court will disregard the corporate entity and
16   will hold the individual shareholders liable for the actions of the corporation.” Mesler
17   v. Bragg Management Co., 39 Cal.3d 290, 300, 216 Cal.Rptr. 443, 702 P.2d 601
18   (1985). The doctrine bypasses the corporate entity in order to avoid the potential
19   injustice that would arise by treating the individual and the corporation as separate
20   entities.
21          Federal courts “apply the law of the forum state in determining whether a
22   corporation is an alter ego” of a party. Towe Antique Ford Foundation v. I.R.S., 999
23   F.2d 1387, 1391 (9th Cir. 1993). Under California law, an alter ego relationship only
24   exists where “(1) there is such a unity of interest and ownership that the individuality,
25   or separateness, of the said person and corporation has ceased, and (2) an adherence to
26   the fiction of the separate existence of the corporation would sanction a fraud or
27   promote injustice.” S.E.C. v. Hickey, 322 F.3d 1123, 1128 (9th Cir. 2003).
28          However, finding alter ego liability “is an extreme remedy, sparingly used.”
                                               6.
Case 2:15-cv-00652-AB-E Document 207 Filed 03/13/19 Page 7 of 11 Page ID #:4689



1    Hasso v. Hapke, 227 Cal. App. 4th 107, 155, 173 Cal. Rptr. 3d 356, 395 (Ct. App.
2    2014). “Conclusory allegations of ‘alter ego’ status are insufficient to state a claim.
3    Rather a plaintiff must allege specifically both of the elements of alter ego liability, as
4    well as facts supporting each.” Neilson v. Union Bank of California, N.A., 290 F.
5    Supp. 2d. 1101, 1116 (C.D. Cal. 2003).
6                     i. Unity of Interest and Ownership
7          “There is no litmus test” governing whether an individual shareholder may be
8    said to be an alter ego under California law. Mesler, 29 Cal. 2d at 300. Courts
9    consider such factors as: whether the individual treated corporate assets as his own;
10   whether a single individual or family owned all of the corporate entity; whether the
11   individual and the corporation commingled their assets or failed to segregate their
12   funds; and whether the individual utilized the corporation as a shell. Zoran Corp. v.
13   Chen, 4th 799, 811-812, 110 Cal. Rptr. 3d, 597, 606-07 (Ct. App. 2010). “No one
14   characteristic governs, but the courts must look at all circumstances to determine
15   whether the doctrine should be applied.” Sonora Diamond Corp. v. Superior Court,
16   83 Cal. App. 4th 523, 539, 99 Cal. Rptr. 2d 824, 836 (Ct. App. 2000). If, under the
17   circumstances of the case, it would be inequitable to treat the individual and the
18   corporation as separate entities, courts should avoid that inequitable result by
19   disregarding the distinction between corporation and individual and impose liability
20   “to reach an equitable result.” Mesler, 29 Cal. 2d at 301.
21                   ii. Avoidance of Injustice
22         Given the importance of the corporate form and the limitations on individual
23   liability surrounding corporations, alter ego liability should be narrowly applied to
24   circumstances where it is truly necessary to avoid injustice. Id. “The injustice that
25   allows a corporate veil to be pierced is not a general notion of injustice; rather, it is the
26   injustice that results only when corporate separateness is illusory.” Katzir’s Floor &
27   Home Design, Inc. v. M-MLS.com, 394 F.3d at 1149. “Difficulty in enforcing a
28   judgment or collecting a debt does not satisfy this standard.” Sonora Diamond Corp,
                                                 7.
Case 2:15-cv-00652-AB-E Document 207 Filed 03/13/19 Page 8 of 11 Page ID #:4690



1    83 Cal. App. 4th at 539.
2          “In almost every instance where a plaintiff has attempted to invoke the doctrine
3    he is an unsatisfied creditor.” Mid-Century Ins. Co. v. Gardner, 9 Cal. App. 4th 1205,
4    1213, 11 Cal. Rptr. 2d 918, 923 (Ct. App. 1992). Simply because a party cannot
5    otherwise satisfy a judgment is not sufficient grounds for invoking the alter ego
6    doctrine. “The purpose of the doctrine is not to protect every unsatisfied creditor, but
7    rather to afford him protection, where some conduct amounting to bad faith makes it
8    inequitable . . . for the equitable owner of a corporation to hide behind its corporate
9    veil.” Id.
10      III.      DISCUSSION
11         As a threshold matter, none of the entity Defendants are subject to the Court’s
12   general jurisdiction. The entity Defendants are incorporated in New York; Plaintiff’s
13   allegations that some of the entity Defendants occasionally conduct business in
14   California are not sufficient to establish general jurisdiction. Similarly, Defendants
15   Bern and Napoli are not subject to the Court’s general jurisdiction. Thus, Plaintiff
16   must prove specific jurisdiction in proper. Plaintiff’s argument regarding the Court’s
17   jurisdiction turns on whether the entity Defendants are successors in interest of
18   NBRA. Alternatively, the Court must determine that Defendants Bern or Napoli are
19   the alter egos of NBRA to establish a basis for jurisdiction.
20         A. Personal Jurisdiction Over NBRA is Proper
21         Courts rely on a three-prong test to determine specific personal jurisdiction: (1)
22   the non-resident defendant must purposefully direct his activities or consummate some
23   transaction with the forum or resident thereof; or perform some act by which he
24   purposefully avails himself of the privilege of conducting activities in the forum,
25   thereby invoking the benefits and protections of its laws; (2) the claim must be one
26   which arises out of or relates to the defendant’s forum-related activities; and (3) the
27   exercise of jurisdiction must comport with fair play and substantial justice, i.e. it must
28   be reasonable.” Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 802 (9th
                                                8.
Case 2:15-cv-00652-AB-E Document 207 Filed 03/13/19 Page 9 of 11 Page ID #:4691



1    Cir. 2004).
2          Defendants do not contend that NBRA is subject to the Court’s personal
3    jurisdiction so the Court will not expend unnecessary energy conducting thorough
4    analysis. NBRA entered into two contracts with Plaintiff for him to act as California
5    counsel for the firm. Willick Decl. Exs. A-B. In addition, NBRA sent Marc Bern, a
6    partner at the firm, to California to engage in settlement talks with Plaintiff. Id. ¶ 8.
7    These are sufficient activities to support a finding of specific personal jurisdiction;
8    NBRA contracted with a California attorney and should have expected to be subject to
9    specific jurisdiction based on those relationships.
10         B. Successor Liability Has Not Been Adequately Set Forth
11         Plaintiff has failed to adequately set forth either requirement of successor
12   liability. As a threshold matter, Plaintiff has not alleged that NBRA transferred all of
13   its assets to any one Defendant pursuant to a sale. Indeed, it does not appear any such
14   sale ever took place. NBRA was dissolved and its only “asset”—its clients—was split
15   evenly amongst Defendants Napoli and Bern. Successor liability in California courts
16   contemplates both a sale, and a transfer of all of the entity’s assets. Here, neither
17   occurred. Without any allegations that NBRA sold all of its assets to a particular
18   Defendant, the Court cannot determine that the “mere continuation” exception applies.
19         C. This Court Lacks Personal Jurisdiction Over Entity Defendants
20             Because Alter Ego Liability Has Not Been Established
21         While Plaintiff “need only make a prima facie showing of alter ego liability” to
22   defeat a motion to dismiss, Cirana Corp. v. Changshu Jisheng Spinning, Case No.
23   2:16-cv-490-CAS (GJSx), 2016 WL 5890061, at *2 (C.D. Cal. Oct. 6, 2016), Plaintiff
24   has failed to do so here. In Cirana, this Court’s analysis relied heavily upon the fact
25   that an individual defendant was the sole owner and stockholder of a corporation in
26   determining that there was a unity of interest. Specifically, Plaintiff offered
27   allegations that an individual defendant exclusively “dominated, controlled, and
28   influenced” the entity, that the entity was a mere shell for the individual defendant’s
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Case 2:15-cv-00652-AB-E Document 207 Filed 03/13/19 Page 10 of 11 Page ID #:4692



1    use, and that the individual defendant used his personal residential address as the
2    entity’s business address.
3          Similarly, in AKH Co. Inc. v. Morris Tire Serv., Inc., Case No. SACV 11-1903
4    DOC (MLGx), 2012 WL 13020053, at *5 (C.D. Cal. Apr. 19, 2012) the Court
5    determined that alter ego liability was proper because the defendant “personally
6    directed the activities of [the entity] . . .” and the entity was a “mere instrumentality”
7    of defendant. In reviewing Plaintiff’s FAC, the Court does not identify similar
8    indicative factors that determine a unity of interest. Plaintiff’s FAC alleges individual
9    Defendants Napoli and Bern exercise “complete control and dominance of the
10   business assets of [Defendant Entities].” Such allegations appear lacking.
11         While Plaintiff need only present a prima facie case for alter ego liability, he
12   has not yet satisfied this requirement. See e.g., ADO Finance, AG v. McDonnell
13   Douglas Corp., 931 F.Supp. 711 (C.D. Cal 1996) (determining defendant satisfied the
14   prima facie showing with “substantial evidence” establishing sole ownership of
15   defendant entities). A reworking of this allegation to identify Defendants as sole
16   owners or beneficiaries of the corporate entities may suffice, but at this stage,
17   Plaintiff’s allegations are insufficient. Plaintiff’s allegations of ownership are
18   inconsistent with Defendant’s argument that some entities named in Plaintiff’s FAC
19   are owned or operated by individuals wholly distinct from NBRA, Defendant Napoli
20   or Defendant Bern.
21         Moreover, Plaintiff has not pleaded allegations evidencing “bad faith conduct
22   on part of defendants” in order to justify a finding of alter ego liability. Neilson v.
23   Union Bank of California, N.A., 290 F. Supp. 2d. 1101, 1116 (C.D. Cal. 2003). At
24   this stage, Plaintiff has failed to sufficiently state a claim that establishes both
25   elements of alter ego liability to survive Defendants’ Motions to Dismiss.
26   Nonetheless this Court questions the motivations behind Defendants Napoli and
27   Bern’s establishment of multiple distinct law firms conducting similar (if not
28   identical) businesses.
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Case 2:15-cv-00652-AB-E Document 207 Filed 03/13/19 Page 11 of 11 Page ID #:4693



1          D. Jurisdictional Discovery is Proper
2       Because “[f]urther discovery on this issue might well demonstrate facts sufficient
3    to constitute a basis for jurisdiction,” Harris Rutsky & Co. Ins. Servs., Inc. v. Bell &
4    Clements Ltd., 328 F.3d 1122 (9th Cir. 2003), the Court grants Plaintiff’s request to
5    conduct limited jurisdictional discovery as to Plaintiff’s alter ego liability theory.
6    Plaintiff’s discovery shall not be limited in any extent, insofar as it seeks to support its
7    prima facie case for its alter ego theory.
8       IV.    CONCLUSION
9          For the foregoing reasons, the Court GRANTS Defendant’s Motion. Plaintiff’s
10   action is DISMISSED without prejudice. The Court also GRANTS Plaintiff’s
11   request for jurisdictional discovery on its alter ego liability theory. Plaintiff may
12   conduct unfettered discovery to support its alter ego theory for 90 days from the
13   issuance of this Order. Plaintiff’s failure to file an Amended Complaint after 90 days
14   of jurisdictional discovery will result in dismissal of this action.
15         Plaintiff need not provide status reports regarding the arbitration proceedings
16   during this time period. Further, the Court has reviewed Plaintiff’s ex parte
17   application and DENIES Plaintiff’s application pursuant to this Court’s Order.
18         The April 19, 2019 Scheduling Conference is vacated.
19
20   IT IS SO ORDERED.
21
22   Dated: March 13, 2019
                                              _______________________________
23                                            HONORABLE ANDRÉ BIROTTE JR.
24                                            UNITED STATES DISTRICT COURT JUDGE

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